It is contended by counsel for appellants that the record shows that exceptions were reserved at the time of this trial to the instructions given to the jury, and in support of *Page 546 
this contention they cite us to page 61 of the transcript of the record. We find that the motion for a new trial begins on page 60 and extends to page 62 of the transcript of the record, and that the 6th ground relied upon in said motion states that exceptions were reserved to the instructions. Matters occurring during the trial of a case can not be presented to this court solely by recitals contained in the motion for a new trial. A defendant may put anything in his motion for a new trial he desires, but before it can be considered by this court it must be sustained and supported by proper statements contained in the case-made, duly certified to as the law directs.
Defendant attaches to his motion for a rehearing a certificate of the county judge dated on the 16th day of December, 1910, to the effect that upon the trial of this case exceptions were reserved at the time of the trial by counsel for the defendant to each and every paragraph of the court's charge. Exceptions cannot be shown in this way. We know of no law authorizing the review of a case upon the certificate of the trial judge. Exceptions can be shown only by case-made or bill of exceptions, and cannot be proved by evidence aliunde.
If lawyers will exercise more care in the preparation of their cases-made and transcripts of the record, they will save themselves and this court a great deal of trouble.
Motion for rehearing denied. *Page 547 